
967 N.E.2d 807 (2012)
359 Ill. Dec. 777
PEOPLE State of Illinois, respondent,
v.
Robert SPENCER, petitioner.
No. 112279.
Supreme Court of Illinois.
May 30, 2012.
Petition for leave to appeal denied.
In the exercise of this Court's supervisory authority, the Appellate Court, First District, is directed to vacate its judgment in People v. Spencer, case No. 1-09-0105 (02/18/11). The appellate court is directed to reconsider its judgment in light of People v. Edwards, 2012 IL 111711, ___ Ill. Dec. ___, ___ N.E.2d ___, to determine if a different result is warranted.
